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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                COLUMBUS DIVISION

UNITED STATES OF AMERICA                       : CRIMINAL NUMBER: 4:21-CR-14 (CDL)
                                               :
       v.                                      :
                                               :
CATHY L. LOWE                                  :
                                               :

                          CONSENT ORDER FOR CONTINUANCE

       The defendant in the above-styled case was indicted on April 14, 2021, and arraigned on

April 26, 2021. At arraignment, Defendant was released on an unsecured bond. By Order of the

Court, this case has been declared complex. Doc. 21-1. Defendant’s case has been set for pretrial

conference on November 29, 2021. Doc. 25.

       The parties stipulate and agree that discovery in this case is voluminous and ongoing, and

that continued negotiations could result in a disposition of the case without trial. They seek a

continuance of the pretrial conference and a continuation of the trial to the Court’s March 2022

jury trial term. The parties further agree that neither the Defendant nor the Government would

suffer prejudice from the granting of this request.

       Accordingly, IT IS HEREBY ORDERED that the above-referenced matter be continued

hereafter to the Court’s March, 2022 term, and that the Speedy Trial deadline for the trial in this

matter imposed by 18 U.S.C. Sect. 3161(c)(1) be extended to that time. The Court likewise orders

that the pretrial conference previously scheduled for November 29, 2021, is cancelled and

continued until further Order of the Court.

       It is the Court’s finding that the ends of justice [18 U.S.C. Sect. 3161(h)(8)(A)] served by

the granting of this continuance outweigh the best interests of the public and the defendant in a

speedy trial for the reason that failure to grant such continuance could result in a miscarriage of


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justice [18 U.S.C. Sect. 3161(h)(8)(B)(i)]; and the failure to grant such continuance would deny

counsel for the Defendant and the Government the reasonable time necessary for effective

preparation, taking into account the exercise of due diligence [18 U.S.C. Sect. (h)(8)(B)(iv)].

       SO ORDERED, this 3rd day of November 2021.



                                              S/Clay D. Land
                                              CLAY D. LAND
                                              UNITED STATES DISTRICT JUDGE




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